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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


               Defendant.


            GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
     OTHER ACTS EVIDENCE THAT IS INTRINSIC TO CHARGED CRIMES OR
          ADMISSIBLE UNDER FEDERAL RULE OF EVIDENCE 404(b)

       In accordance with the Court’s Order of March 1, 2018 (Doc. 217), the United States of

America, by and through Special Counsel Robert S. Mueller, III, hereby provides notice of its

intent to introduce evidence at trial of several prior acts involving defendant Paul J. Manafort, Jr.

As explained below, at least two of the acts at issue are intrinsic to the offenses charged in the

Superseding Indictment, and therefore do not require pretrial notice under Federal Rule of

Evidence 404(b)(2). And even if Rule 404(b) applies, the evidence is admissible for legitimate

non-propensity purposes, and its probative value is not substantially outweighed by the risk of

unfair prejudice.

                                        BACKGROUND

       Defendant Manafort is charged in the Superseding Indictment with conspiring to defraud

and commit offenses against the United States, in violation of 18 U.S.C. § 371; conspiring to

commit money laundering, in violation of 18 U.S.C. § 1956(h); acting as an unregistered agent of

a foreign principal, in violation of the Foreign Agents Registration Act (FARA), 22 U.S.C. § 611

et seq.; making false statements under FARA, in violation of 22 U.S.C. § 618; making false

statements to the Department of Justice, in violation of 18 U.S.C. § 1001; witness tampering, in
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violation of 18 U.S.C. § 1512(b)(1); and conspiring to commit witness tampering, in violation of

18 U.S.C. § 1512(k). See Doc. 318. At trial, the government may seek to admit evidence of the

following:

       1. Ukrainian Procurement Process: The government may seek to introduce evidence about

the reasons for structuring a multi-million dollar payment to Law Firm A for, among other things,

preparing a report on the trial of former Ukrainian Prime Minister Yulia Tymoshenko.

See Superseding Indictment ¶ 29 (alleging that Law Firm A was paid by international wires

originating from a Manafort-controlled offshore account). In particular, the government may

introduce evidence that one reason that Manafort and others arranged for Law Firm A to be

retained for the de minimis sum of approximately $12,000—even though they knew at the time

that Law Firm A proposed a budget of at least $4 million—was to avoid certain limitations imposed

by Ukrainian public procurement law.

       2. Representations to Treasury Department and a Mortgage Lender Regarding a New York

City Apartment: The government may seek to introduce evidence that, in connection with filing

his tax returns from in or about 2008 through in or about 2014, Manafort falsely represented to the

Internal Revenue Service on applicable tax returns that a New York City apartment that Davis

Manafort Partners, Inc. (DMP) and DMP International, LLC (DMI) rented from John Hannah

(another Manafort entity) was used entirely by DMP and DMI for business. DMI claimed

deductions on its income taxes based on the rental business expense, and a Manafort-owned entity

depreciated the property. When, in January 2015, Manafort sought to secure a loan against that

apartment from a bank, he sought to have his tax preparer represent that the apartment was a

personal residence for Manafort and his wife, and asked the preparer to explain to the lender that

his taking expense/depreciation of the property was merely a “tax strategy.”



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       3. Cypriot Loans: The government may seek to introduce evidence that, from in or about

2009 through 2014, Manafort, Gates, and Kilimnik structured a series of loans between the Cypriot

entities that they controlled—entities that are identified in the Superseding Indictment (¶ 11)—to

avoid the recognition of those funds as income. *

                                           ARGUMENT

A. Legal Framework

       “Rule 404(b) generally bars the admission of ‘[e]vidence of a crime, wrong, or other act

. . . to prove a person’s character in order to show that on a particular occasion the person acted in

accordance with the character.’” United States v. McGill, 815 F.3d 846, 879 (D.C. Cir. 2016),

(quoting Fed. R. Evid. 404(b)(1)). “That same evidence, however, may ‘be admissible for another

purpose, such as proving motive, opportunity, intent, preparation, plan, knowledge, identity,

absence of mistake, or lack of accident.’” Id. (quoting Fed. R. Evid. 404(b)(2)).

       As the D.C. Circuit recently explained, a court faced with a request to admit evidence of

other crimes or bad acts asks as a “threshold” matter “whether the evidence, in actuality, relates to

acts unconnected with those for which the defendant is charged, or instead is intertwined with the

commission of charged crimes.” McGill, 815 F.3d at 879. That is because “[a]cts ‘extrinsic’ to

the crime charged are subject to Rule 404(b)’s limitations,” while “acts ‘intrinsic’ to the crime are

not.” Id. “In other words, Rule 404(b) only applies to truly ‘other’ crimes and bad acts; it does

not apply to ‘evidence . . . of an act that is part of the charged offense’ or of ‘uncharged acts

performed contemporaneously with the charged crime . . . if they facilitate the commission of the

charged crime.’” Id. (quoting United States v. Bowie, 232 F.3d 923, 929 (D.C. Cir. 2000)).



       *
        These intra-Cyprus loans differ from the loans alleged to be “shams” in Paragraph 17 of
the Superseding Indictment, all of which involve movement of funds from Cypriot accounts to
Manafort-affiliated United States entities.
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       The court in McGill also reaffirmed that these principles afford prosecutors flexibility in

the context of conspiracy prosecutions.       In particular, “the prosecution is usually allowed

considerable leeway in offering evidence of other offenses to inform the jury of the background of

the conspiracy charged and to help explain to the jury how the illegal relationship between the

participants in the crime developed.” McGill, 815 F.3d at 879 (internal quotation marks and

ellipses omitted). “In addition, ‘where the incident offered is a part of the conspiracy alleged[,]

the evidence is admissible under Rule 404(b) because it is not an other crime.’” Id. (quoting United

States v. Hemphill, 514 F.3d 1350, 1357 (D.C. Cir. 2008)).

       If the evidence is admissible under Rule 404(b) or otherwise, a defendant may still move

to exclude it under Rule 403 on the ground that “its probative value is substantially outweighed

by,” among other things, the danger of “unfair prejudice.” Fed. R. Evid. 403; see Bowie, 232 F.3d

at 930. In conspiracy cases, however, the balance under Rule 403 will often favor admission, since

“[e]vidence tending to demonstrate ‘intent, plan, preparation, and motive . . . is particularly

probative where the government has alleged conspiracy.’” United States v. Mathis, 216 F.3d 18,

26 (D.C. Cir. 2000) (quoting United States v. Sampol, 636 F.2d 621, 659 & n.23 (D.C. Cir. 1980)).

B.   The Evidence At Issue Is Intrinsic To The Charged Crimes, Admissible Under
     Rule 404(b), Or Both

       The government submits that evidence about each of the acts described above is admissible

because it is either intrinsic to the charged offenses (including the charged conspiracies), relevant

for a permissible non-propensity purpose under Rule 404(b), or both.

       1. Ukrainian Procurement Process. Evidence about the manner of paying Law Firm A is

directly probative of the substantive FARA violation charged in Count Three, see Superseding

Indictment ¶¶ 29, 43; the overarching conspiracy in Count One, which includes a FARA violation

as one of its objects, id. ¶ 38; and the money-laundering conspiracy charged in Count Two, which

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is based in part on international transactions designed to promote the underlying FARA offense,

see id. ¶ 41a; Doc. 250 at 7. In other words, the payments to Law Firm A are “both part of the

[FARA] offense” charged in Count Three, and an “incident offered [a]s a part of the conspirac[ies]

alleged” in Counts One and Two. See McGill, 815 F.3d at 879 (internal quotation marks omitted).

Evidence about the nature and purpose of those payments is therefore intrinsic to the charged

offenses. See id.

       The evidence is also admissible under Rule 404(b). The reasons why Manafort and his

coconspirators structured payments to obscure the amount of funding to Law Firm A is probative

of motive, which “has long been recognized as a permissible purpose for the introduction of ‘other

crimes’ evidence.” McGill, 815 F.3d at 883. The payment-related evidence is also relevant to

demonstrating Manafort’s knowledge of the scheme to hide Law Firm A’s work and payments, as

charged in Count Three, see Superseding Indictment ¶ 29, and is also probative of both Manafort’s

preparation and the existence of a plan among Manafort and his co-conspirators.

       2. Representations to Treasury Department and Mortgage Lender Regarding a New York

City Apartment. Manafort’s “tax strategy” with respect to the New York City apartment is direct

evidence of the Count One conspiracy, which charges as one object a conspiracy to defraud the

Treasury Department (i.e., the Internal Revenue Service). Superseding Indictment ¶ 38; see

McGill, 815 F.3d at 881 (“As a general matter, when the indictment contains a conspiracy charge,

uncharged acts may be admissible as direct evidence of the conspiracy itself.”) (internal brackets

and quotation marks omitted). In particular, treating a residence as a business expense to count

depreciation and obtain other tax benefits is another way in which Manafort schemed to reduce the

amount of taxable income reported to the IRS, which is one of the forms of deceiving the Treasury

Department alleged in Count One. See Superseding Indictment ¶¶ 14-15 (describing direct



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payments from offshore accounts to vendors and transfers from Cypriot to domestic entity

disguised as “loans”); see also id. ¶ 36 (alleging that, on tax filings from 2008 through 2014,

Manafort falsely represented that he had no authority over foreign bank accounts).

       Under Rule 404(b), evidence of Manafort’s representations to the lender—and his request

that his tax preparer chalk up prior representations to “tax strategy”—is relevant for several non-

propensity purposes. First, it shows Manafort’s knowledge of the tax consequences resulting from

certain transactions and is thus probative of an absence of mistake (or lack of accident, see Rule

404(b)(2)) in Manafort’s conduct of the transactions relevant to Count One (e.g., direct vendor

payments and sham loans from Cypriot to domestic entities). Second, evidence that Manafort

asked his tax preparer to explain away discrepancies in Manafort’s treatment of the apartment is

probative of Manafort’s absence of mistake, knowledge, and use of a common scheme in procuring

similarly false statements from lawyers, tax preparers, and accountants, as charged in the

Superseding Indictment (¶¶ 25-36, 42-47).

       3. Cypriot Loans. The government does not plan to introduce evidence regarding whether

the structuring of loans among Manafort-affiliated Cypriot entities violated Cypriot law. Without

regard to the lawfulness of the transfers under Cypriot law, however, evidence of those transfers

is relevant for multiple non-propensity purposes. That evidence is probative of Manafort’s

participation in and knowledge of the Count One conspiracy, including the allegations related to

(a) the booking of sham loans from Cypriot entities and (b) Manafort’s failure to report his interest

in Cypriot bank accounts to the United States Treasury, in violation of 31 U.S.C. §§ 5314 and

5322(a). Superseding Indictment ¶¶ 17, 32-38.




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                                          CONCLUSION

       For the foregoing reasons, the government intends to introduce the above-described

evidence in its case-in-chief as direct evidence of the crimes charged because it is intrinsic to those

crimes or, under Rule 404(b), in order to show the defendant’s intent, knowledge, motive, the

absence of mistake, and a common scheme or plan.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

Dated: June 15, 2018                   By:             /s/ Andrew Weissmann
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